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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA
                               BIG STONE GAP DIVISION

   UNITED STATES OF AMERICA                     )
                                                )
                 v.                             )             Case No. 2:15-CR-15
                                                )
   SAMUEL LEE COURTNEY                          )
                                                )

  UNITED STATES’ SUPPLEMENTARY FILING REGARDING ADDITIONAL
   INFORMATION RELATED TO DEFENDANT’S MOTION FOR RELEASE

         The United States submits the following new information regarding Samuel

  Courtney’s request for compassionate release:

         After conferring again with the Bureau of Prisons (given Mr. Courtney’s claim

  that he sent an email and received a response), the United States received the

  attached email correspondence between Mr. Courtney and the warden’s office. See

  Ex. 1. As the email indicates, Mr. Courtney did submit a request for home

  confinement on April 7, 2020, and that request was denied two weeks later on April

  21, 2020 because his “recidivism risk score” is “medium” and because of his “past

  history of violence.” Ex. 1.

         In light of this information, the government no longer disputes that Mr.

  Courtney has adequately exhausted his administrative rights, as required in 18

  U.S.C. § 3582(c)(1)(A).

         However, notwithstanding the email, the government continues to assert that

  Mr. Courtney is not a suitable candidate for release in light of the relevant § 3553(a)

  factors, particularly the risk he poses to the community. That position is reinforced


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  by warden’s determination that home confinement is not appropriate for Mr.

  Courtney; indeed, Mr. Courtney’s “medium” recidivism score and his “past history of

  violence,” militate against any release here.

                                          Respectfully submitted,

                                          THOMAS T. CULLEN
                                          United States Attorney

                                          s/ Jonathan Jones

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                                 CERTIFICATE OF SERVICE

         I hereby certify that on June 4, 2020, I electronically filed the foregoing with

  the Clerk of the Court using the CM/ECF system, which will send notification of such

  filing to counsel of record.

                                                  s/ Jonathan Jones
                                                  Assistant United States Attorney




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